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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA
                              GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                          CASE NO. 1:04-cr-00030-MP-AK

ALFRED LEE CASON, JR,

      Defendant.
___________________________/

                             FINAL ORDER OF FORFEITURE

       THIS CAUSE CAME before the court on the Motion of the United States of America

for a Final Order Of Forfeiture. Being fully advised in the premises, the Court finds as

follows:

       WHEREAS, on March 8, 2005, this Court entered a Preliminary Order Of Forfeiture

against the following property;

       Real property located at (REDACTED) Alachua County, Florida, more

particularly described as, (REDACTED) NORTHWOOD PINES UNIT (REDACTED)

according to the plat thereof recorded in Plat Book (REDACTED) of the Public Records of

Alachua County, Florida, pursuant to the provisions of 21 U.S.C. § 853, based upon the

Defendant’s Plea And Cooperation Agreement and the Forfeiture Count of the Indictment;

and

       WHEREAS, on September 23, 30, October 7 and 14, 2005, the United States of

America caused to be published in the Gainesville Sun, a newspaper of general circulation,

notice of this forfeiture and the intent of the United States of America to dispose of the

property, in accordance with the law, and further notifying all third parties of their interest

in said property; and
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        WHEREAS, on July 28, 2006, the Court entered an Order granting Stacy Cason’s

Motion To Consent To Forfeiture; and

        WHEREAS, on or about September 5, 2006, Chase Manhattan Mortgage

Corporation, filed a petition based on a mortgage it owns encumbering this property, and

whereas the United States of America recognizes the mortgage of Chase Manhattan

Mortgage Corporation; and

        WHEREAS, no other persons or entities having an interest in the above-referenced

property have timely filed petitions, it is hereby

        ORDERED, ADJUDGED and DECREED that the right, title and interest to the

above-referenced property, is hereby condemned, forfeited and vested in the United States

of America, subject only to the mortgage of Chase Manhattan Mortgage Corporation, and

shall be disposed of in accordance with the law.


        DONE AND ORDERED this 22nd            day of September, 2006


                                     s/Maurice M. Paul
                                Maurice M. Paul, Senior District Judge




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